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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



MICHAEL ALLEN, individually and on                 Civil Action No.: 2:17-cv-12352-ES-MAH
behalf of all others similarly situated,
                                                   FIRST AMENDED CLASS ACTION
                              Plaintiff,           COMPLAINT

       v.                                          JURY TRIAL DEMANDED

QUICKEN LOANS INC. and NAVISTONE,
INC.,

                              Defendants.



       Plaintiff Michael Allen (“Plaintiff”), individually and on behalf of himself and all others

similarly situated, by and through his attorneys, makes the following allegations pursuant to the

investigation of his counsel and based upon information and belief, except as to allegations

specifically pertaining to himself and his counsel, which are based on personal knowledge.

                                   NATURE OF THE CASE

       1.      This is a class action suit brought against Defendants Quicken Loans Inc.

(“Quicken”) and NaviStone, Inc. (“NaviStone”) (collectively, “Defendants”) for wiretapping the

computers of visitors to Defendant Quicken’s website, Quickenloans.com. The wiretaps, which

are secretly embedded in the computer code on Quickenloans.com, are used by Defendants to

scan the user’s computer in search of files that can be used to de-anonymize and identify the

user, and also to observe visitors’ keystrokes, mouse clicks and other electronic communications

in real time for the purpose of gathering Personally Identifiable Information (“PII”) to

de-anonymize those visitors – that is, to match previously unidentifiable website visitors to

obtain their names and home addresses, along with detailed data concerning their browsing
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habits. These wiretaps enable Defendants to immediately, automatically, and secretly observe

the keystrokes, mouse clicks, and other electronic communications of visitors regardless of

whether the visitor ultimately procures financial services from Quicken. By doing so,

Defendants have breached Quicken’s privacy policy, have violated Title I of the Electronic

Communications Privacy Act of 1986, 18 U.S.C. §§ 2510-22, also known as the “Wiretap Act,”

which prohibits the intentional interception of wire, oral, and electronic communications unless

specifically authorized by a court order, have violated the Stored Communications Act (“SCA”),

18 U.S.C. § 2701, et seq., which prohibits unauthorized access to wire or electronic

communications while it is in electronic storage, have violated New Jersey’s privacy torts, and

have committed other tortious acts as described herein.

       2.      On several occasions within 6 months prior to the filing of this lawsuit, Plaintiff

Michael Allen visited Quickenloans.com, but has never procured financial services from

Quicken as a result of these visits. During each of Plaintiff’s visits Defendants scanned his

device for files that could be used to de-anonymize and identify him, and captured his electronic

communications, disclosed the intercepted data to NaviStone in real time, and used the

intercepted data to attempt to learn his identity, postal address, and other PII.

       3.      Plaintiff brings this action on behalf of himself and a class of all persons whose

electronic communications were intercepted through the use of NaviStone’s wiretap on

Quickenloans.com.

                                             PARTIES

       4.      Plaintiff Michael Allen is a natural person and citizen of the State of New Jersey

who resides in Paramus, New Jersey. Several times over the last six months, Mr. Allen browsed

Defendant Quicken’s website at Quickenloans.com. Although Mr. Allen never procured

financial services from Defendants as a result of these visits and never consented to any
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interception, disclosure or use of his electronic communications, Mr. Allen’s keystrokes, mouse

clicks, and other electronic communications were intercepted in real time and were disclosed to

NaviStone through Quicken’s use of NaviStone’s wiretap. Mr. Allen was unaware at the time

that his keystrokes, mouse clicks, and other electronic communications were being intercepted

and disclosed to a third party.

        5.      Defendant Quicken Loans Inc. is a Michigan corporation with its principal place of

business at 1050 Woodward Ave., Detroit, Michigan. Quicken does business throughout New

Jersey and the entire United States.

        6.      Defendant NaviStone, Inc. is a Delaware corporation with its principal place of

business at 1308 Race Street, Cincinnati, Ohio 45202. NaviStone does business throughout New

Jersey and the entire United States. NaviStone is an online marketing company and data broker

that deals in U.S. consumer data.

                                  JURISDICTION AND VENUE

        7.      This action is brought pursuant to the federal Wiretap Act, 18 U.S.C. §§ 2510, et

seq. and the Stored Communications Act, 18 U.S.C. §§ 2701, et seq.

        8.      The jurisdiction of this Court is predicated on 28 U.S.C. § 1331.

        9.      Both Defendants transact business in this District. Venue is proper in this District

under 28 U.S.C. § 1391 because Plaintiff resides in this District, Defendants do substantial

business in this District, and a substantial part of the events giving rise to Plaintiff’s claims took

place within this District.

        10.     This Court has personal jurisdiction over Defendants because Defendants conduct

substantial business within New Jersey, such that Defendants have significant, continuous, and

pervasive contacts with the State of New Jersey. Moreover, a substantial part of the events



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giving rise to Plaintiff’s claims took place within New Jersey. Furthermore, Plaintiff resides in

this District and is a citizen of the state of New Jersey.

                             FACTS COMMON TO ALL CLAIMS

Overview Of NaviStone’s Wiretaps

       11.     Defendant NaviStone is a marketing company and data broker that deals in U.S.

consumer data. NaviStone’s business model involves entering into voluntary partnerships with

various e-commerce websites. Upon partnering with NaviStone, these e-commerce websites will

agree to insert a small parcel of computer code into their websites, which is provided by

NaviStone (and is written by NaviStone). This small parcel of computer code serves as a so-

called “back door” in computer terminology – its function is to retrieve and execute a much

larger portion of JavaScript code that is remotely hosted on NaviStone’s servers. As NaviStone

explains on http://navistone.com, “[a]dding a simple line of code to each page of your website

enables a wealth of new marketing data.”

       12.     This “back door” code permits NaviStone to execute its own computer code on

the websites of its e-commerce partners. Stated otherwise, the “simple line of code” that

NaviStone requests its partners add “to each page of [their] website[s]” serves to call and execute

remote computer code that is: (i) provided by NaviStone, (ii) written by NaviStone, and

(iii) hosted on a remote server by NaviStone.

       13.     As currently deployed, NaviStone’s remote code functions as a wiretap. That is,

when connecting to a website that runs this remote code from NaviStone, a visitor’s IP address

and other PII is sent to NaviStone in real-time. NaviStone’s code also scans the visitor’s

computer for data files that could reveal the visitor’s identity. NaviStone’s code will also spy on

the visitor as he or she browses the website, instantaneously reporting the visitor’s every


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keystroke and mouse click to NaviStone. This real-time interception and transmission of

visitors’ electronic communications begins as soon as the visitor loads Quickenloans.com into

their web browser. Every keystroke and mouse click is instantaneously intercepted and

transmitted to NaviStone through the wiretap. This real-time transmission includes, among other

things, information typed on forms located on Quickenloans.com, such as its mortgage estimator,

regardless of whether the user completes the form or clicks “Submit.” Upon transmission to

NaviStone, this information is used to de-anonymize website visitors.

       14.     NaviStone maintains a back-end database containing data and profiles on

consumers across the U.S., which includes consumers’ names and mailing addresses. As users

browse the various e-commerce websites that deploy NaviStone code, NaviStone attempts to

“match” website visitors with records of real-life people maintained in its back-end database.

This matching may occur as simply as running a database query to correlate the IP address of a

website visitor, though NaviStone may also attempt to match user profiles through the use of

names, addresses, and other PII. Once a match is found, NaviStone de-anonymizes the user and

updates its back-end database with the user’s current browsing activities and PII.

       15.     NaviStone has partnered with hundreds e-commerce websites since beginning its

operations. By combining and correlating its data, NaviStone can watch consumers as they

browse hundreds of participating e-commerce sites, in real-time.

       16.     Pursuant to an agreement with NaviStone, Quicken intentionally embedded

NaviStone’s software coded wiretap on Quickenloans.com in order to scan visitors’ computers

for files that could be used to identify them, and also to intercept visitors’ communications to

obtain de-anonymized PII of visitors to Quicken’s website.

       17.     NaviStone obfuscates the wiretap codes through dummy domains to attempt to


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conceal its activities. For example, part of NaviStone’s remote code running on Quicken’s

website is located at http://code.murdoog.com/onetag/C196978CF1900B.js (as of the writing of

this Complaint).

       18.     On June 20, 2017, a leading tech news website, gizmodo.com, published an

exposé on NaviStone’s wiretaps entitled “Before You Hit ‘Submit,’ This Company Has Already

Logged Your Personal Data.”1 The Gizmodo article describes NaviStone as “a company that

advertises its ability to unmask anonymous website visitors and figure out their home

addresses.”2 The article revealed that NaviStone is “in the business of identifying ‘ready to

engage’ customers and matching ‘previously anonymous website visitors to postal names and

addresses.’ [NaviStone] says it can send postcards to the homes of anonymous website shoppers

within a day or two of their visit, and that it’s capable of matching ‘60-70% of your anonymous

site traffic to Postal names and addresses.’”3

       19.      Indeed, on its own website, NaviStone boasts that it “invented progressive

website visitor tracking technology,” which allows it to “reach [] previously unidentifiable

website visitors.”4 According to NaviStone, “[b]y simply adding one line of code to each

website page, you can unlock a new universe of ‘ready to engage’ customers.”5

       20.      NaviStone also explains how to implement this software wiretap on its clients’

webpages:

               1:      Insert One Line Of Code On Each Webpage.
                       We’ll provide you and your IT team with a short tracking
                       code (and instructions) to insert on each page of your
                       website. Data collection begins immediately and is

1
  https://gizmodo.com/before-you-hit-submit-this-company-has-already-logge-1795906081
2 Id.
3
  Id.
4
  https://www.navistone.com/
5
  Id.
                                                 6
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                       reviewed for quality by our staff.

               2:      Identify Engaged Website Visitors.
                       Data is stored in a secure environment specifically
                       dedicated to your company’s information. Website visitors
                       are identified as direct marketing prospects or reactivation
                       targets based on their level of engagement on your site, as
                       identified by unique algorithms developed by our data
                       scientists.

               3:      Identify Verified Names and Addresses.
                       When unidentified website visitors show an intent to
                       purchased based on the modeling process described above,
                       NaviStone® will secure postal names and addresses to
                       include in your direct marketing prospecting and
                       reactivation programs. …

               4:      Use, Expand, Repeat.
                       NaviStone® will continue to track website behavior to
                       identify new, unique prospects and reactivation targets so
                       you can expand and optimize this unique process for
                       success time and time again.6


       21.     NaviStone’s wiretap intercepts communications in real time. As Gizmodo put it,

“before you hit ‘submit,’ this company has already logged your personal data.”7 Consumerist

also shared the same concern: “these forms collect your data even if you don’t hit ‘submit.’”8

       22.     NaviStone’s wiretap is engaged as soon as the visitor arrives at

Quickenloans.com. By merely loading the main page on Quickenloans.com, with no other

action, the visitor is connected to NaviStone’s wiretap, which scans visitors’ computers for

identifying information, and also intercepts and monitors their communications.

       23.     As the visitor interacts with Quickenloans.com, for example, by typing

information into a form (e.g., the balance of his or her mortgage, the total value of his or her

6
  https://www.navistone.com/how-it-works (last visited Nov. 3, 2017).
7
  https://gizmodo.com/before-you-hit-submit-this-company-has-already-logge-1795906081 (last
visited Nov. 3, 2017).
8
  https://consumerist.com/2017/06/29/these-forms-collect-your-data-even-if-you-dont-hit-submit/
                                                  7
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home, etc.), all of these communications are intercepted and disclosed to NaviStone in real time,

through the wiretap. Indeed, as will be demonstrated below, when NaviStone’s code is deployed

on a webpage that contains an online form – such as a “sign up” page or an “account

registration” page – the data is sent to NaviStone as it is typed. Visitors do not need to click

“Submit” on the form, or take any other action, for their communications to be intercepted and

disclosed to NaviStone.

       24.     NaviStone’s wiretaps are deployed on hundreds of e-commerce websites. Upon

information and belief, NaviStone maintains and correlates its back-end database of User Data

and PII across these hundreds of websites. For example, assume that Site X and Site Y are both

running NaviStone’s wiretap. Now, assume that a user provides her name and phone number to

Site X, but not to Site Y. Through the use of NaviStone’s wiretap and back-end database,

NaviStone can de-anonymize the user on Site Y and know her name and phone number, even

though she never provided that information to Site Y.

NaviStone’s Wiretap In Action On Quickenloans.com

       25.     Some aspects of the operation of NaviStone’s wiretap on the Quickenloans.com

website can be observed using the Developer Tools Window in the Google Chrome browser. In

the images below, the Quickenloans.com website, as it appears normally through the browser is

shown in the left-hand side of the window, while the Developer Tools Network View, showing

incoming and outgoing transmissions, is shown in the right-hand window.




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       26.     When Quickenloans.com is loaded into a browser, the website automatically

retrieves a computer file located on a remote server. At the time this Complaint was written, the

computer file was named “C196978CF1900B.js,” and it was hosted at

http://code.murdoog.com/onetag/




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        27.     The file “C196978CF1900B.js” is roughly 24 KB in size and contains computer

 code written in a language called JavaScript. It appears as such:




 The top line of the code contains a comment indicating that it is to be used on

 “Quickenloans.com.” However, the remainder of the code lacks comments, explanations, proper

 indenting, or intelligible names for variables. Essentially, this code is obfuscated.

        28.     The domain “code.murdoog.com,” which deploys this code, is owned and

 operated by NaviStone.

        29.     Next, the code in C196978CF1900B.js is executed, with no further actions by the

 user, or prompting by Quicken or NaviStone. This immediately begins intercepting the visitors’

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 electronic communications and transmitting them to https://apis.murdoog.com/




        30.    The domain “apis.murdoog.com” is also owned and operated by NaviStone.

        31.     The intercepted communications are encoded in a format called Base64. When

 decoded, they appear as such:

               {"v":"e609394e-f9d3-4c7e-a85b-d1c3d6c77be8","m":"7c213bd9-
               2744-45c4-a38e-
               e1184f1b3f11","csi":2602349387,"se":"108f0375-a71a-401c-
               9039-d747ba53c1bf","p":"0a487a7f-bd29-4b2c-9b3e-
               365b46b1f5dc","u":"https://www.quickenloans.com/mortgage-
               application/four-steps?mortgage-
               option=yourgage#1","pn":"/mortgage-application/four-
               steps","t":"Apply for a Mortgage | Quicken
               Loans","c":"https://www.quickenloans.com/mortgage-
               application/four-
               steps","pr":"CD4143","eid":"ns_seg_100","s":1,"vs":11,"l":"PageL
               oad"}

 Based on information and belief, other portions of these intercepted data (which are obfuscated

 such that they are machine-readable but are not readable by humans) include a timestamp, an ID

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 number, the user’s IP address, and other PII.

        32.     NaviStone’s wiretaps scan the visitor’s computer for files that can be used to de-

 anonymize and identify the user. On information and belief, the wiretap searches for tracking

 files employed by other websites or online data brokers to de-anonymize and identify the user.

        33.     NaviStone’s wiretap will also monitor the user as he or she browses

 Quickenloans.com. The wiretaps will report every page visited by the user. Assume that a

 visitor is interested in applying for a mortgage.




 This activity is immediately communicated to NaviStone as such:

                {"v":"e609394e-f9d3-4c7e-a85b-d1c3d6c77be8","m":"7c213bd9-
                2744-45c4-a38e-
                e1184f1b3f11","csi":2775439104,"se":"108f0375-a71a-401c-
                9039-d747ba53c1bf","p":"4660d48a-6831-4ce3-9162-
                eeb436f72b04","u":"https://www.quickenloans.com/mortgage-
                application/four-steps?mortgage-
                option=yourgage#2","pn":"/mortgage-application/four-
                steps","t":"Apply for a Mortgage | Quicken
                Loans","c":"https://www.quickenloans.com/mortgage-
                application/four-

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               steps","pr":"CD4143","eid":"ns_seg_100","s":1,"vs":12,"l":"PageL
               oad"}


        34.    When filling out forms, any PII the user provides is immediately, automatically,

 and secretly transmitted to NaviStone in real-time. Here, by way of example, the user has

 indicated that he or she has “Signed a Purchase Agreement.” A transmission is automatically,

 immediately, and secretly made to NaviStone:




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 Now, the user has indicated that he or she is a “first-time home buyer.” Again, a transmission is

 automatically, immediately, and secretly made to NaviStone:




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 Now, the user has indicated that he or she is currently renting. Again, another transmission is

 automatically, immediately, and secretly made to NaviStone:




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        35.    Furthermore, after visitors enter their “mortgage balance” on Quickenloans.com,

 another transmission is automatically, immediately, and secretly made to NaviStone:




                                               16
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 Similarly, when visitors enter their total “home worth” on Quickenloans.com, another

 transmission is automatically, immediately, and secretly made to NaviStone:




           36.   By intercepting these communications, NaviStone is able to learn the identity of

 the visitor. As NaviStone boasts, it is capable of matching “60-70% of your anonymous site

 traffic to Postal names and addresses.”9

 Defendants Violated Quicken’s Privacy Policy

           37.   Quicken’s website maintains a Security and Privacy Policy (hereafter, the

 “Privacy Policy”). As enacted during all relevant time periods, the Privacy Policy states that

 Quicken “respect[s] and protect[s] the privacy of those who visit or use our website,” and

 “[w]hen [Quicken] collect[s] information from you, we want you to know how it is used.” The

 Privacy Policy further states that: “By using [Quicken’s] website, you are consenting to the use


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     Id.
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 of information and agreeing to these guidelines and the other Quicken Loans policies described

 on [Quicken’s] website.”

        38.     In a section entitled “OUR SECURITY & PRIVACY PLEDGE,” Quicken’s

 Privacy Policy promises that “Quicken Loans does not share your personal information with

 outside companies for their promotional use without your consent.”

        39.     In a section entitled “PROTECTING YOUR IDENTITY AND CREDIT,”

 Quciken states that:

                Tools, Applications and Registration: We provide a number of
                ways for you to explore your options for mortgages and loans, so
                you can determine which options may be the most desirable for
                you. You can engage a number of tools, planners, calculators and
                other interactive advisors, such as the online interviews, without
                providing us your identity. We will not ask you for personally
                identifiable information to use these features, and do not attribute
                the information that you provide to you as an individual.

                However, if you want to exercise one or more of the loan options
                presented, we will ask you to register at the site and supply other
                identifying and supporting information needed to process your
                application.

                By registering, you can save information such as loan interviews
                and applications for later review and update. When you register,
                you select a member ID name by which we will know you, choose
                a password and provide us an Email address. You use the member
                ID name and password to gain access to your loan application
                information, financial profile and/or customized rates. We use
                your contact information to provide you with alerts and updates
                regarding your loan status, which is part of the Quicken Loans
                service. Quicken Loans does not share your information with
                outside companies for their promotional use. We may, however,
                use it to send you communications and special offers on other
                products or services offered by Quicken Loans. If you do not want
                to receive this information you may opt-out during registration,
                within any future communications or by sending an Email to
                optout@QuickenLoans.com. You may also click here to change
                your contact preferences. (underlining added)

        40.     In a section entitled “WE TELL YOU HOW AND WHY WE USE WEB


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 TECHNOLOGIES,” Quicken states that:

                Website Usage Data: Our website tracks usage data, including,
                for example, your IP address, your browser type and version,
                which pages you view, which page, if any, linked you to our site,
                and which link, if any, you follow off of our site. We use this data
                in the aggregate and on an individual level to better understand
                website activity to improve our site offerings, to reconstruct
                activity from a session or by a user, for troubleshooting and issue
                resolution purposes. We may also use this data to provide you a
                more personalized website experience, assistance with technical
                support questions, and to send you special offers, product and
                service updates, or other promotional materials that are relevant
                and tailored to your interests. If you do not want to receive these
                offers or promotions, simply indicate your contact preferences
                during the registration process, within any future communications
                or by sending an Email to optout@QuickenLoans.com. You may
                also click here to change your contact preferences. We do not share
                your information with outside companies for their promotional use.
                We do not track URLs that you type into your browser, nor do we
                track you across the Internet once you leave our site. (underlining
                added)

        41.     Each of these statements are false and/or misleading because Quicken does in fact

 share visitor’s information with NaviStone for NaviStone’s marketing purposes and promotional

 use. And NaviStone then shares the information with other third parties for their marketing

 purposes and promotional use.

 Other Allegations Common To All Claims

        42.     Defendants, as corporations, are “persons” pursuant to 18 U.S.C. § 2510(6).

        43.     Plaintiff’s and Class Members’ keystrokes, mouse clicks, and other interactions

 with Quickenloans.com are “electronic communications” as defined by 18 U.S.C. § 2510(12).

        44.     For at least some of the communications at issue, neither Quicken nor NaviStone

 was an intended recipient of the communication. For example, Mr. Allen has never procured

 financial services from Defendants as a result of his visits to Quickenloans.com in the last 6

 months. Thus any datafiles retrieved from his device, or any information he may have typed

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 onto forms without clicking submit, or any keystrokes, mouse clicks, or similar communications

 with Quickenloans.com, were communications with Mr. Allen’s Internet service provider for the

 purpose of accessing web content, and were not communications with Quicken or NaviStone.

 They were not communications to which Quicken or NaviStone were intended to be parties.

           45.   At the time Defendants implemented the wiretaps on Quickenloans.com, they

 intended to commit tortious acts including disclosures of the intercepted information which

 violated Quicken’s Privacy Policy, violated the SCA, violated the confidentiality provisions of

 the Gramm-Leach-Bliley Act, and several New Jersey privacy torts.

           46.   Throughout the entirety of the conduct upon which this suit is based, Defendants’

 actions have affected interstate commerce.

           47.   Defendants’ actions are and have been intentional as evidenced by, inter alia,

 their design and implementation of the software wiretap on Quickenloans.com, their use of

 wiretaps to access files on visitors’ computers that are unrelated to the Quickenloans.com

 website, and their disclosures and uses of the intercepted data files and communications for

 profit.

                                CLASS ACTION ALLEGATIONS

           48.   Plaintiff seeks to represent a class all persons whose electronic or stored

 communications were intercepted through the use of NaviStone’s wiretap on Quickenloans.com

 (the “Class”). Plaintiff also seeks to represent a subclass of all Class members residing in the

 state of New Jersey (the “New Jersey Subclass”).

           49.   Members of the Class are so numerous that their individual joinder herein is

 impracticable. On information and belief, members of the Class number in the millions. The

 precise number of Class members and their identities are unknown to Plaintiff at this time but



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 may be determined through discovery. Class members may be notified of the pendency of this

 action by mail and/or publication through the distribution records of Defendants.

        50.     Common questions of law and fact exist as to all Class members and predominate

 over questions affecting only individual Class members. Common legal and factual questions

 include, but are not limited to, whether Defendants intentionally intercepted electronic

 communications in violation of 18 U.S.C. § 2511(1)(a); whether Defendants intentionally

 disclosed the intercepted electronic communications in violation of 18 U.S.C. § 2511(1)(c);

 whether Defendants intentionally used, or endeavored to use the intercepted electronic

 communications to de-anonymize website visitors in violation of 18 U.S.C. § 2511(1)(d);

 whether Quicken procured NaviStone to intercept or endeavor to intercept electronic

 communications in violation of 18 U.S.C. § 2511(1)(a); whether NaviStone procured Quicken to

 intercept or endeavor to intercept electronic communications in violation of 18 U.S.C.

 § 2511(1)(a); whether NaviStone’s wiretaps, including the software codes described herein, are

 an “electronic, mechanical, or other device” as defined by 18 U.S.C. § 2510(5); whether

 NaviStone’s wiretaps are primarily useful for the purpose of the surreptitious interception of

 electronic communications in violation of 18 U.S.C. § 2512; whether NaviStone violated 18

 U.S.C. § 2512 by intentionally creating the wiretap codes, by possessing those wiretaps, by

 advertising them on the NaviStone website, and by distributing them to Quicken for installation

 on Quicken’s website; whether Quicken violated 18 U.S.C. § 2512 by receiving the wiretaps

 from NaviStone, which were transported through interstate commerce, by possessing those

 wiretaps, and by further distributing them through the software codes embedded on

 Quickenloans.com; whether each class member is entitled to the remedies specified under 18

 U.S.C. § 2520, including but not limited to statutory damages of $10,000 per class member;



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 whether Defendants violated the SCA, 18 U.S.C. § 2701, by unlawfully accessing files stored on

 the computers and devices of visitors to Quickenloans.com; and whether Defendants engaged in

 tortious deceptive acts or practices under New Jersey common law by intercepting and disclosing

 information obtained through the wiretaps in violation of the Privacy Policy.

        51.     The claims of the named Plaintiff are typical of the claims of the Class because

 the named Plaintiff, like all other class members, visited Quickenloans.com and had his

 electronic communications intercepted and disclosed to NaviStone through the use of

 NaviStone’s wiretap.

        52.     Plaintiff is an adequate representative of the Class because his interests do not

 conflict with the interests of the Class members he seeks to represent, he has retained competent

 counsel experienced in prosecuting class actions, and he intends to prosecute this action

 vigorously. The interests of Class members will be fairly and adequately protected by Plaintiff

 and his counsel.

        53.     The class mechanism is superior to other available means for the fair and efficient

 adjudication of the claims of Class members. Each individual Class member may lack the

 resources to undergo the burden and expense of individual prosecution of the complex and

 extensive litigation necessary to establish Defendants’ liability. Individualized litigation

 increases the delay and expense to all parties and multiplies the burden on the judicial system

 presented by the complex legal and factual issues of this case. Individualized litigation also

 presents a potential for inconsistent or contradictory judgments. In contrast, the class action

 device presents far fewer management difficulties and provides the benefits of single

 adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

 Defendants’ liability. Class treatment of the liability issues will ensure that all claims and



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 claimants are before this Court for consistent adjudication of the liability issues.

           54.   Plaintiff brings all claims in this action individually and on behalf of members of

 the Class against Defendants.

                                           Count I
      For Interception Of Electronic Communications In Violation Of The Wiretap Act,
                                    18 U.S.C. § 2511(1)(a)

           55.   Plaintiff repeats the allegations contained in ¶¶ 1-54, above, as if fully set forth

 herein.

           56.   By implementing NaviStone’s wiretaps on Quickenloans.com, each Defendant

 intentionally intercepted, endeavored to intercept, and procured another person to intercept, the

 electronic communications of Plaintiff and Class Members, in violation of 18 U.S.C.

 § 2511(1)(a).

                                          Count II
   For Disclosure Of Intercepted Electronic Communications In Violation Of The Wiretap
                                 Act, 18 U.S.C. § 2511(1)(c)

           57.   Plaintiff repeats the allegations contained in ¶¶ 1-54, above, as if fully set forth

 herein.

           58.   By intentionally disclosing the intercepted electronic communications of the

 Plaintiff and Class Members to each other, and to other third parties, while knowing or having

 reason to know that the information was obtained through the interception of an electronic

 communication in violation of 18 U.S.C. § 2511(1)(a), Defendants have violated 18 U.S.C.

 § 2511(1)(c).

                                         Count III
    For Use Of Intercepted Electronic Communications In Violation Of The Wiretap Act,
                                   18 U.S.C. § 2511(1)(d)

           59.   Plaintiff repeats the allegations contained in ¶¶ 1-54, above, as if fully set forth


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 herein.

           60.      By intentionally using, or endeavoring to use, the contents of the Plaintiff’s and

 Class Members’ intercepted electronic communications to de-anonymize them, and for other

 purposes, while knowing or having reason to know that the information was obtained through the

 interception of an electronic communication in violation of 18 U.S.C. § 2511(1)(a), Defendants

 have violated 18 U.S.C. § 2511(1)(d).

                                               Count IV
                 For Procuring In Violation Of The Wiretap Act, 18 U.S.C. § 2511(1)(a)

           61.      Plaintiff repeats the allegations contained in ¶¶ 1-54, above, as if fully set forth

 herein.

           62.      By intentionally procuring NaviStone to intercept or endeavor to intercept

 electronic communications, Quicken violated 18 U.S.C. § 2511(1)(a).

           63.      By intentionally procuring Quicken to intercept or endeavor to intercept electronic

 communications, NaviStone violated 18 U.S.C. § 2511(1)(a).

                                         Count V
 For Manufacture, Distribution, Possession And Advertising Of Electronic Communication
                 Intercepting Devices In Violation Of The Wiretap Act,
                                     18 U.S.C. § 2512

           64.      Plaintiff repeats the allegations contained in ¶¶ 1-54, above, as if fully set forth

 herein.

           65.      NaviStone’s wiretaps, including the software codes described herein, are an

 “electronic, mechanical, or other device” as defined by 18 U.S.C. § 2510(5), are primarily useful

 for the purpose of the surreptitious interception of electronic communications.

           66.      By intentionally creating the wiretap codes, by possessing those wiretaps, by

 advertising them on the NaviStone website, and by distributing them to Quicken for installation


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 on Quicken’s website, NaviStone violated 18 U.S.C. § 2512.

           67.   By receiving the wiretaps from NaviStone, which were transported through

 interstate commerce, by possessing those wiretaps, and by further distributing them through the

 software codes embedded on Quickenloans.com, Quicken violated 18 U.S.C. § 2512.

                                          Count VI
           For Violation Of The Stored Communications Act, 18 U.S.C. §§ 2701, et seq,

           68.   Plaintiff repeats the allegations contained in ¶¶ 1-54, above, as if fully set forth

 herein.

           69.   Plaintiff’s and Class members’ computers and devices are facilities through which

 an electronic communications service is provided.

           70.   Through use of the wiretaps described herein, Defendants intentionally accessed

 stored files on Plaintiff’s and Class members’ computers and devices without authorization or by

 exceeding an authorization given, in violation of 18 U.S.C. § 2701.

                                             Count VII
                                    For Intrusion Upon Seclusion

           71.   Plaintiff repeats the allegations contained in ¶¶ 1-54, above, as if fully set forth

 herein.

           72.   By the acts and conduct alleged herein, Defendants intentionally intruded upon

 the Plaintiff’s solitude or seclusion in that Defendants intentionally accessed stored files on

 Plaintiff’s and Class members’ computers and devices without authorization or by exceeding an

 authorization given. Further, by implementing NaviStone’s wiretaps on Quickenloans.com, each

 Defendant intentionally intercepted, endeavored to intercept, and/or procured another person to

 intercept, the electronic communications of Plaintiff and Class Members.

           73.   Defendants’ intentional intrusion on Plaintiff’s solitude or seclusion is highly

 offensive to a reasonable person in that Defendants’ conduct violated federal and state civil and

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 criminal statutes designed to protect individual privacy. Specifically, Defendants’ conduct

 violated the Wiretap Act, the SCA, and the confidentiality provisions of the Gramm-Leach-

 Bliley Act, as well as the terms of Quicken’s own Privacy Policy.

        74.     As a result of the above, the Defendants are liable to Plaintiff, the Class, and the

 New Jersey Subclass for general damages to their interest in privacy resulting from the

 invasions, as well as for compensatory and punitive damages.

                                           Relief Sought

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

 a judgment against Defendants as follows:

                 A.      For an order certifying the Class under Rule 23 of the Federal Rules
                         of Civil Procedure and naming Plaintiff as representative of the
                         Class and Plaintiff’s attorneys as Class Counsel to represent the
                         Class;
                 B.      For an order declaring that Defendants’ conduct as described herein
                         violates the statutes referenced herein;
                 C.      For an order finding in favor of Plaintiff and the Class on all counts
                         asserted herein;
                 D.      For all remedies specified in the Wiretap Act, 18 U.S.C. § 2520,
                         including the actual damages suffered by the plaintiff and class
                         members, any profits made by Defendants as a result of the
                         violations, statutory damages of whichever is greater of $100 a day
                         for each day of violation or $10,000 for each class member, such
                         preliminary and other equitable or declaratory relief as may be
                         appropriate, punitive damages, and a reasonable attorney’s fee and
                         other litigation costs reasonably incurred;
                 E.      For all remedies specified in the Stored Communications Act, 18
                         U.S.C. §§ 2707(b) and (c), including the actual damages suffered by
                         the plaintiff and class memberss, any profits made by Defendants as
                         a result of the violations, statutory damages of $1,000 per class
                         member, such preliminary and other equitable or declaratory relief
                         as may be appropriate, punitive damages, and a reasonable
                         attorney’s fee and other litigation costs reasonably incurred;
                 F.      For all remedies specified under New Jersey’s privacy torts;
                 G.      For prejudgment interest on all amounts awarded;
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               H.      For an order of restitution and all other forms of equitable monetary
                       relief;
               I.      For injunctive relief as pleaded or as the Court may deem proper;
               J.      For an order awarding Plaintiff and the Class their reasonable
                       attorneys’ fees and expenses and costs of suit; and
               K.      Grant any and all such relief as the Court deems appropriate.

                                         Jury Demand

       75.    Plaintiff demands a trial by jury on all causes of action and issues so triable.




 Dated: February 9, 2018                         Respectfully submitted,

                                                 BURSOR & FISHER, P.A.

                                                 By:       /s/ Frederick J. Klorczyk III
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